                                                                                                                      Case 2:06-cv-00549-JAM-DAD Document 28 Filed 11/09/07 Page 1 of 3


                                                                                                                  1   JAMES V. FITZGERALD, III (State Bar No. 55632)
                                                                                                                      NOAH G. BLECHMAN (State Bar No. 197167)
                                                                                                                  2   MCNAMARA, DODGE, NEY, BEATTY, SLATTERY,
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                                                                                                                  5   Facsimile: (925) 939-0203
                                                                                                                  6   Attorneys for Defendants
                                                                                                                      CITY OF VALLEJO, ROBERT NICHELINI, JEROME
                                                                                                                  7   PATZER
                                                                                                                  8                                       UNITED STATES DISTRICT COURT

                                                                                                                  9                                       EASTERN DISTRICT OF CALIFORNIA
                                                                         P.O. BOX 5288, WALNUT CREEK, CA 94596




                                                                                                                 10
                                                                                TELEPHONE: (925) 939-5330




                                                                                                                 11   LORI BAUER, individually, and as                    Case No. 06-00549-MCE-DAD
                                                                                   ATTORNEYS AT LAW




                                                                                                                      Personal Representative of the Estate of
                                                                                                                 12   Andrew Washington,                                  FURTHER STIPULATION AND ORDER
                                                                                                                                                                          VACATING TRIAL AND OTHER DATES
                                                                                                                 13                     Plaintiff,                        PENDING RELEVANT MOTION IN
                                                                                                                                                                          RELATED FEDERAL
                                                                                                                 14            vs.                                        ACTION____________________
                                                                                                                 15   CITY OF VALLEJO, a municipal                        Pre-Trial Conference: December 7, 2007
                                                                                                                      corporation; ROBERT NICHELINI, in his
                                                                                                                 16   capacity as Chief of Police for the CITY            Trial Date:             January 14, 2008
                                                                                                                      OF VALLEJO; JEROME PATZER,
                                                                                                                 17   individually and in his capacity as a police
                                                                                                                      officer for the CITY OF VALLEJO; and
                                                                                                                 18   DOES 1-25, inclusive, individually and in
                                                                                                                      their capacities as police officers for the
                                                                                                                 19   CITY OF VALLEJO,,
                                                                                                                 20                     Defendants.
                                                                                                                 21

                                                                                                                 22            IT IS HEREBY STIPULATED AND AGREED by and between the parties to this action,

                                                                                                                 23   through their respective counsel of record, and approved by the Court in the accompanying Order,

                                                                                                                 24   as follows:

                                                                                                                 25            1.       On August 10, 2007, Your Honor filed an order after finding good cause

                                                                                                                 26   demonstrated by the parties for briefly continuing the pre-trial and trial dates in this matter, and

                                                                                                                      other relevant dates, per a stipulation and proposed order submitted by the parties on August 9,

                                                                                                                      2007, due to the fact that there was a pending motion for leave to file a First Amended Complaint
                                                                                                                      FURTHER STIPULATION AND ORDER VACATING TRIAL AND
                                                                                                                      OTHER DATES PENDING RELEVANT MOTION IN RELATED
                                                                                                                      FEDERAL ACTION – 06-00549 MCE DAD
                                                                                                                      Case 2:06-cv-00549-JAM-DAD Document 28 Filed 11/09/07 Page 2 of 3


                                                                                                                  1   in a related federal action (Washington), the outcome of which will directly impact the facts and
                                                                                                                  2   circumstances of this action and the trial of this action. Attached hereto as Exhibit A is the copy
                                                                                                                  3   of the Court’s August 10, 2007, Order demonstrating the good cause.
                                                                                                                  4            2.       As of the date of the filing of this further stipulation and proposed order, Judge
McNAMARA, DODGE, NEY, BEATTY, SLATTERY, PFALZER, BORGES & BROTHERS LLP




                                                                                                                  5   Ralph R. Beistline in Andrew Washington v. Taser International, Inc., Case No. 05-CV-00881
                                                                                                                  6   RRB GGH, has not yet ruled on the motion for leave to file a First Amended Complaint which
                                                                                                                  7   was taken under submission several months ago.
                                                                                                                  8            3.       Based upon the fact that no decision on the motion for leave to file a First
                                                                                                                  9   Amended Complaint has yet been rendered in Washington, there is still and further good cause
                                                                         P.O. BOX 5288, WALNUT CREEK, CA 94596




                                                                                                                 10   for this Court to vacate the trial and related dates in this case.
                                                                                TELEPHONE: (925) 939-5330




                                                                                                                 11            4.       In order to avoid setting further deadlines similar to those in the August 10, 2007,
                                                                                   ATTORNEYS AT LAW




                                                                                                                 12   Order, necessitating the parties seeking further extensions, and to avoid disrupting the Court’s
                                                                                                                 13   own calendar by continually resetting dates, the parties have agreed that all current dates and
                                                                                                                 14   deadlines in this matter, per the Court’s August 10, 2007, Order should be vacated and no new
                                                                                                                 15   dates should be reset until following the outcome of the motion for leave to filed a First Amended
                                                                                                                 16   Complaint in the Washington case.
                                                                                                                 17            5.       The parties agree to jointly notify the Court in writing within 30-45 days from the
                                                                                                                 18   filing of an order ruling upon Plaintiff’s motion for leave to filed a First Amended Complaint in
                                                                                                                 19   the Washington case regarding the further status of this litigation and the Washington litigation,
                                                                                                                 20   specifically related to the consolidation issue regarding the two informally related cases.
                                                                                                                 21

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                                                                                                                 23                                                      Respectfully submitted,
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                                                                                                                      FURTHER STIPULATION AND ORDER VACATING TRIAL AND      2
                                                                                                                      OTHER DATES PENDING RELEVANT MOTION IN RELATED
                                                                                                                      FEDERAL ACTION – 06-00549 MCE DAD
                                                                                                                      Case 2:06-cv-00549-JAM-DAD Document 28 Filed 11/09/07 Page 3 of 3


                                                                                                                  1   Dated: ______________, 2007                LAW OFFICES OF JOHN L. BURRIS
                                                                                                                  2

                                                                                                                  3
                                                                                                                                                                 By:        __________________
                                                                                                                  4                                                      John L. Burris, Esq. / Ben Nisenbaum, Esq.,
                                                                                                                                                                         Attorneys for Plaintiffs
McNAMARA, DODGE, NEY, BEATTY, SLATTERY, PFALZER, BORGES & BROTHERS LLP




                                                                                                                  5

                                                                                                                  6
                                                                                                                      Dated: ______________, 2007                MCNAMARA, DODGE, NEY, BEATTY, SLATTERY,
                                                                                                                  7                                              PFALZER, BORGES & BROTHERS LLP

                                                                                                                  8

                                                                                                                  9
                                                                         P.O. BOX 5288, WALNUT CREEK, CA 94596




                                                                                                                                                                 By:        __________________
                                                                                                                 10                                                      James V. Fitzgerald, III / Noah G. Blechman
                                                                                                                                                                         Attorneys for Defendant
                                                                                TELEPHONE: (925) 939-5330




                                                                                                                 11                                                      CITY OF VALLEJO, ROBERT NICHELINI and
                                                                                   ATTORNEYS AT LAW




                                                                                                                                                                         JEREMY PATZER
                                                                                                                 12

                                                                                                                 13
                                                                                                                                                                           ORDER
                                                                                                                 14

                                                                                                                 15            PURSUANT TO THE FOREGOING STIPULATION, IT IS ORDERED THAT

                                                                                                                 16   THE DATES CURRENTLY SET IN THIS MATTER ARE HEREBY VACATED PER

                                                                                                                 17   THE GOOD CAUSE DEMONSTRATED BY THE PARTIES ABOVE. THE PARTIES

                                                                                                                 18   ARE ORDERED TO JOINTLY PROVIDE THE COURT A STATUS UPDATE IN

                                                                                                                 19   WRITING WITHIN 30 DAYS FROM THE FILING OF AN ORDER RULING UPON

                                                                                                                 20   PLAINTIFF’S MOTION FOR LEAVE TO FILE A FIRST AMENDED COMPLAINT IN

                                                                                                                 21   THE WASHINGTON ACTION, SPECIFICALLY RELATED TO THE

                                                                                                                 22   CONSOLIDATION ISSUE REGARDING THE TWO INFORMALLY RELATED CASES.

                                                                                                                 23
                                                                                                                      Dated: November 9, 2007
                                                                                                                 24
                                                                                                                                                                       __________________________________
                                                                                                                 25
                                                                                                                                                                       MORRISON C. ENGLAND, JR
                                                                                                                 26                                                    UNITED STATES DISTRICT JUDGE




                                                                                                                      FURTHER STIPULATION AND ORDER VACATING TRIAL AND        3
                                                                                                                      OTHER DATES PENDING RELEVANT MOTION IN RELATED
                                                                                                                      FEDERAL ACTION – 06-00549 MCE DAD
